







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

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  IN THE INTEREST OF C.T.,
  MINOR CHILD.
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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-02-00074-CV
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  Appeal from the
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  383rd District Court
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  of El Paso County, Texas 
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  (TC# 96CM687) 
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O P I N I O N

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Pending before the Court is the
appellant=s motion to dismiss this appeal
pursuant to Tex. R. App. P.
42.1(a)(2), which states:

(a)
The appellate court may dispose of an appeal as follows:

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.&nbsp;&nbsp;&nbsp; .&nbsp;&nbsp;&nbsp; .

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(2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; in
accordance with a motion of appellant to dismiss the appeal or affirm the
appealed judgment or order; but no party may be prevented from seeking any
relief to which it would otherwise be entitled.

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Appellant has complied with the
requirements of Rule 42.1(a)(2).&nbsp; The
Court has considered this cause on the appellant=s motion and concludes the motion
should be granted and the appeal should be dismissed.&nbsp; We therefore dismiss the appeal.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


SUSAN
LARSEN, Justice

October 10, 2002

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Before Panel No. 1

Larsen, McClure, and Chew,
JJ.

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(Do Not Publish)

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